                     Case 6:11-cr-00015-LGW-CLR Document 223 Filed 05/28/15 Page 1 of 1
AOl17il0/lll   A m e n d eodr d e rR e s a r d i nvgo h o nt o rS e n t e n cRee d u c r r P             r 18US C $ 3582(c)(2)
                                                                                           o nu r s m nt o                                            P a g eI o f 2


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                                                                         UNITEDSTATESDISTRICTCOURT                                                          AUi A 0tv.
                                                                                   for the
                                                                                                                                                     2015
                                                                                                                                                       ilAt28 Pfi2, 16
                                                                                SouthernDistrict of Georgia
                                                                                   StatesboroDivision
                        United Statesof America

                                                                                                            C a s eN o : 6 : 1 1 C R 0 0 0 l 5 - 8
                                          Price
                               MaryPatricia
                                                                                                            USMNo: 17097-021
Dateof OriginalJudgnent:     February   22,2012                                                             WilliamJ. Hunter
DateofPrevious AmendedJudgment:Mav 27, 2015                                                                 Defendant'sAttomey
    DateoJLast,Atnended
aLtse                Judsnent,fanf)


            Amended Order Regarding Motion for SentenceReduction Pursuant to 18 U'S.C' $ 3582(c)(2)
           Reasonfor Amendment: IX] Correction of Sentencefor Arithmetical Error (Fed.R.Crim.P.35(a))

       Uponmotiolof []the defendanrf]the Directorof the Bureauof Prisons!the court under l8 U.S,C.
                                                                            guidelinesentencingrangethat has
$ 35S2(c)(2)for a reductionin the term of imprisonmentimposedbasedon a
subsequently beenlou,eredand maderetroactiveby the United StatesSentencing      Commissionpursuantto 28 U.S.C.
Q994(u),and havingconsiclered    suchmotion,and  taking into accountthe policy statementset forth at USSG $ 181.10and
the sentencingfactorsset forth in l8 U.S.C.S 3553(a),to the extentthat they are applicable.

l T l s O R D E R E D r h a lt h e m o t i o ni s :
                                                            imposedsentenceof imprisonnent (asretTected
                                                                                                    mthetasttu(ts'/enl
 ! OeNIEO. fl Cn-fNf eI) and the defendant'spreviously
                     isse& of         68 monthsis reducedto                     55 months


                                                           (CompleteParts I und II ofPuge 2 when molion is granted)




                  providedabove,all provisionsofthejudgmentdated
Exceptas otherr.vise
IT IS SO ORDERED,

Order Date:



                                                                                                             DudleyH. Bowen,Jr.
Effective Date: Igfg!tbg-!j!-!I-                                                                             United StatesDistrict Judgc
                           (iJ dillerentlron order date)                                                                     P,int 11ro." ord-iif,--
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